











Opinion issued December 31, 2008












&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


In The
Court of Appeals
For The
First District of Texas




NO. 01-08-01003-CV




IN RE WILLIAM DAVID GOLDEN, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By petition for writ of mandamus, relator, William David Golden, challenges
the trial court’s


 September 22, 2008 order.  No order was attached to the petition for
writ of mandamus. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM

Panel consists of Justices Taft, Alcala, and Higley.
&nbsp;


